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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA


                                             CASE NO.: 0:16cv62356

  HISHAM AHMED,

            Plaintiff,

  v.

  ALLIANCEONE RECEIVABLES
  MANAGEMENT, INC.,

        Defendant.
  _______________________________________/

                             COMPLAINT AND DEMAND FOR JURY TRIAL
                                  INJUNCTIVE RELIEF SOUGHT

            Plaintiff HISHAM AHMED (“Plaintiff”), by and through undersigned counsel, seeks

  redress        for   the   illegal    practices   of   Defendant   ALLIANCEONE        RECEIVABLES

  MANAGEMENT, INC. (“Defendant”), to wit, for Defendant’s violations of 15 U.S.C §1692, the

  Fair Debt Collection Practices Act, and Florida Statute § 559.551, the Florida Consumer Collection

  Practices Act, and in support thereof, Plaintiff states the following:

                                             NATURE OF ACTION

  I.        THE FAIR DEBT COLLECTION PRACTICES ACT

            1.         The Fair Debt Collection Practices Act (the “FDCPA”) is a series of statutes which

  prohibits a catalog of activities in connection with the collection of debts by third parties. See 15

  U.S.C. §1692. Congress enacted the FDCPA to regulate the collection of consumer debts by debt

  collectors. The express purposes of the FDCPA are to “eliminate abusive debt collection practices

  by debt collectors, to insure [sic] that debt collectors who refrain from using abusive debt collection




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  practices are not competitively disadvantaged, and to promote consistent State action to protect

  consumers against debt collection abuses.” 15 U.S.C. § 1692(e).

         2.      In enacting the FDCPA, the United States Congress found that “[t]here is abundant

  evidence of the use of abusive, deceptive, and unfair debt collection practices by many debt

  collectors,” which “contribute to the number of personal bankruptcies, to marital instability, to the

  loss of jobs, and to invasions of individual privacy.” 15 U.S.C. § 1692(a). Congress additionally

  found existing laws and procedures for redressing debt collection injuries to be inadequate to

  protect consumers. 15 U.S.C. § 1692(b).

         3.      The FDCPA imposes civil liability on any person or entity that violates its

  provisions, and establishes general standards of debt collector and provides for specific consumer

  rights. 15 U.S.C. §1692k. The operative provisions of the FDCPA declare certain rights to be

  provided to or claimed by debtors, forbid deceitful and misleading practices, prohibit harassing

  and abusive tactics, and proscribe unfair or unconscionable conduct, both generally and in a

  specific list of disapproved practices.

         4.      Section 1692e of the FDCPA prohibits the use of “false, deceptive, or misleading

  representation or means in connection with the collection of any debt.” 15 U.S.C. § 1692e. The

  sixteen subsections of § 1692e set forth a non-exhaustive list of practices that fall within this ban,

  including, but not limited to:

                 (2) The false representation of--
                         (A) the character, amount, or legal status of any debt; or
                         (B) any services rendered or compensation which may be
                         lawfully received by any debt collector for the collection of
                         a debt.
                                                   …
                 (10) The use of any false representation or deceptive means to
                 collect or attempt to collect any debt or to obtain information
                 concerning a consumer.



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  15 U.S.C. § 1692e.

          5.          Section 1692f of the FDCPA states “[a] debt collector may not use unfair or

  unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. § 1692f. See LeBlanc

  v. Unifund CCR Partners, 601 F.3d 1185, 1200 (11th Cir. 2010) (“[a]n act or practice is deceptive

  or unfair if it has the tendency or capacity to deceive.” (emphasis added); The eight subsections of

  § 1692f set forth a non-exhaustive list of practices that fall within this ban, including, but not

  limited to: “[t]he collection of any amount (including any interest, fee, charge, or expense

  incidental to the principal obligation) unless such amount is expressly authorized by the agreement

  creating the debt or permitted by law. 15 U.S.C. § 1692f(1).

          6.          Section 1692g of the FDCPA requires debt collectors to make certain disclosures,

  and/or provide consumers with certain information, depending on the circumstances. The rights

  and obligations established by section 1692g were considered by the Senate to be a “significant

  feature” of the Act. Rep. No. 382, 95th Cong., 1st Sess. 4, at 4. In particular, § 1692g mandates,

  inter alia, that:

                      Within five days after the initial communication with a consumer in
                      connection with the collection of any debt, a debt collector shall,
                      unless the following information is contained in the initial
                      communication or the consumer has paid the debt, send the
                      consumer a written notice containing --

                             (1) the amount of the debt;

                             (2) the name of the creditor to whom the debt is owed;

                             (3) a statement that unless the consumer, within thirty days
                             after receipt of the notice, disputes the validity of the debt,
                             or any portion thereof, the debt will be assumed to be valid
                             by the debt collector;

                             (4) a statement that if the consumer notifies the debt
                             collector in writing within the thirty-day period that the debt,
                             or any portion thereof, is disputed, the debt collector will

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                         obtain verification of the debt or a copy of a judgment
                         against the consumer and a copy of such verification or
                         judgment will be mailed to the consumer by the debt
                         collector; and

                         (5) a statement that, upon the consumer's written request
                         within the thirty-day period, the debt collector will provide
                         the consumer with the name and address of the original
                         creditor, if different from the current creditor.

  15 U.S.C. § 1692g(a); See Bishop v. Ross Earle & Bonan, P.A., 817 F.3d 1268, 1274 (11th Cir.

  2016) (“rejecting the notion that § 1692g gives debt collectors discretion to omit the ‘in writing’

  requirement or cure improper notice by claiming waiver.”); Hooks v. Forman, Holt, Eliades &

  Ravin, LLC, 717 F.3d 282, 286 (2d Cir. 2013) (“[d]ebtors can protect certain basic rights through

  an oral dispute, but can trigger a broader set of rights by disputing a debt in writing.”).

  II.    THE FLORIDA CONSUMER COLLECTION PRACTICES ACT

         7.      The Florida Consumer Collection Practices Act (the “FCCPA”) is “a laudable

  legislative attempt to curb what the Legislature evidently found to be a series of abuses in the area

  of debtor-creditor relations.” Harris v. Beneficial Finance Company of Jacksonville, 338 So. 2d

  196, 200-201 (Fla 1976). In 1993, the FCCPA was enacted to complement the FDCPA, and, as of

  present-day, the FCCPA continues to effectuate this goal by otherwise furthering the protections

  and prohibitions of the FDCPA. See Bianchi v. Bronson & Migliaccio, LLP, 2011 WL 379115

  (S.D. Fla. Feb. 2, 2011) (stating, “[t]he Florida legislature through the FCCPA expresses its intent

  that the FCCPA be read as providing regulations that complement the FDCPA. Specifically, the

  FCCPA notes that any discrepancy between the two acts should be construed as to provide the

  consumer (or debtor) the greatest protection.” (citations omitted)).

         8.      Section 559.72, Fla. Stat., of the FCCPA contains nineteen subsections and

  otherwise codifies an extensive list of acts and/or omissions that the FDCPA does not explicitly



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  prohibit. Accordingly, the FCCPA states, inter alia, that: “[i] collecting consumer debts, no person

  shall…[c]laim, attempt, or threaten to enforce a debt when such person knows that the debt is not

  legitimate, or assert the existence of some other legal right when such person knows that the right

  does not exist.” Fla. Stat. § 559.72(9).

         9.        The FCCPA governs the collection of debts with more scrutiny and specificity than

  that of the FDCPA, whereby, in its totality, not only does the FCCPA codify additional conduct as

  explicitly unlawful – but most critically – the FCCPA applies to individuals and/or entities not

  otherwise regulated by the FDCPA. See In re Hathcock, 437 B.R. 696, 704 (Bankr. M.D. Fla.

  2010) (“[u]nlike the FDCPA, the [FCCPA] applies not only to debt collectors but to any persons

  collecting a consumer debt.” (emphasis added)); See, e.g., Heard v. Mathis, 344 So. 2d 651, 654

  (Fla. 1st DCA 1977) (holding the FCCPA applied to “a private individual making an oral, non-

  interest bearing loan to a friend.”); Schauer v. General Motors Acceptance Corp., 819 So. 2d 809,

  812 n. 1 (Fla. 4th DCA 2002) (creditors are not exempt from FCCPA liability, whether it be direct

  or vicarious).

         10.       As set forth in more detail below, Defendant has violated the aforementioned

  provisions of the FDCPA and FCCPA, and as a result, Plaintiff seeks damages and/or injunctive

  relief for the same.

                                   JURISDICTION AND VENUE

         11.       Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28 U.S.C § 1331, and

  28 U.S.C § 1337.

         12.       Supplemental jurisdiction exists for the forgoing state law claims pursuant to 28

  U.S.C. § 1367.




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          13.     Venue in this District is proper because Plaintiff resides here, Defendant transacts

  business here, and the complained conduct of Defendant occurred here.

                                                PARTIES

          14.     Plaintiff is a natural person, and a citizen of the State of Florida, residing in Broward

  County, Florida.

          15.     Defendant is a Delaware corporation, with its principal place of business located in

  Trevose, Pennsylvania.

          16.     On information and belief, Defendant engages in interstate commerce by regularly

  using telephone and mail in a business whose principal purpose is the collection of debts.

          17.     At all times material, Defendant was acting as a debt collector in respect to the

  collection of Plaintiff’s debts.

          18.     At all times material hereto, Defendant was a corporation subject to the FCCPA.

  See, e.g., Cook v. Blazer Fin. Services, Inc., 332 So. 2d 677, 679 (Fla. 1st Dist. App. 1976) (citing

  Fla. Stat. § 1.01(3)).

                                     FACTUAL ALLEGATIONS

          19.     The debt at issue (the “Consumer Debt”) is a financial obligation Plaintiff incurred

  primarily for personal, family, or household purposes.

          20.     The Consumer Debt is a “debt” governed by the FDCPA and FCCPA. See 15 U.S.C

  §1692a(5); Fla. Stat. § 559.55(6).

          21.     Plaintiff is a “consumer” within the meaning of the FDCPA. See 15 U.S.C

  §1692a(3).

          22.     Defendant is a “debt collector” as defined by the FDCPA and FCCPA. See 15 U.S.C

  §1692a(6); Fla. Stat. § 559.55(7).



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         23.     On a date better known by Defendant, Defendant began attempting collect the

  Consumer Debts from Plaintiff.

         24.     On or about February 22, 2016, Defendant sent a collection letter to Plaintiff (the

  “First Collection Letter”) in an attempt to collect the Consumer Debt. A copy of the Collection

  Letter is attached hereto as Exhibit “A.”

         25.     In the First Collection Letter, Defendant states, inter alia, that:

                 Our client, CAPITAL ONE BANK (USA), N.A, referred your
                 account to us for collections. PLEASE READ CAREFULLY ALL
                 OF THE IMPORTANT DISCLOSURES BELOW.

                 Please keep in mind, interest and fees are no longer being added to
                 your account. That means every dollar you pay goes toward paying
                 off your balance.

  See First Collection Letter.

         26.     The First Collection Letter provides three different amounts: (1) the “Charge-off

  Amount: $468.74;” (2) the “Non-interest Charges/Fees: $184.80;” and (3) the “Balance: $283.94.”

         27.     On or about May 11, 2016, Defendant sent second collection letter to Plaintiff (the

  “Second Collection Letter”) in an attempt to collect the Consumer Debt. A copy of the Collection

  Letter is attached hereto as Exhibit “B.”

         28.     In the Second Collection Letter, Defendant states, inter alia, that:

                 At this time, we would like to offer to settle your account for 55%
                 of the balance! That’s a total settlement amount of $127.77. Upon
                 receipt and clearance of your payment, we will immediately cease
                 collection activity and will notify our client that you have settled
                 your account.

  See Second Collection Letter.

         29.     On information and belief, if Plaintiff was to pay the “Balance” stated in the First

  Collection Letter, Defendant would receive a portion thereof as compensation for the creditor.



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                                          COUNT I.
                                   VIOLATION OF THE FDCPA

          30.     Plaintiff incorporates by reference paragraphs 19-29 of this Complaint as though

  fully stated herein.

          31.     The FDCPA is a strict liability statute. Taylor v. Perrin, Landry, deLaunay &

  Durand, 103 F.3d 1232 (5th Cir. 1997). “Because the Act imposes strict liability, a consumer need

  not show intentional conduct by the debt collector to be entitled to damages.” Russell v. Equifax

  A.R.S., 74 F. 3d 30 (2d Cir. 1996); See also Gearing v. Check Brokerage Corp., 233 F.3d 469 (7th

  Cir. 2000) (holding unintentional misrepresentation of debt collector's legal status violated

  FDCPA).

          32.     The FDCPA is a remedial statute, and therefore must be construed liberally in favor

  of the debtor. Sprinkle v. SB&C Ltd., 472 F. Supp. 2d 1235 (W.D. Wash. 2006). The remedial

  nature of the FDCPA requires that courts interpret it liberally. Clark v. Capital Credit & Collection

  Services, Inc., 460 F. 3d 1162 (9th Cir. 2006). “Because the FDCPA, like the Truth in Lending

  Act [15 U.S.C §1601], is a remedial statute, it should be construed liberally in favor of the

  consumer.” Johnson v. Riddle, 305 F. 3d 1107 (10th Cir. 2002).

          33.     In determining whether a debt collector has violated the FDCPA, the debt

  collector’s actions are considered through the least sophisticated consumer lenses. See Jeter v.

  Credit Bureau, Inc., 760 F.2d 1168, 1175 (11th Cir. 1985) (holding that, “because we believe that

  the FDCPA's purpose of protecting consumers is best served by a definition of deceive that looks

  to the tendency of language to mislead the least sophisticated recipients of a debt collector's letters

  and telephone calls, we adopt the [] standard of least sophisticated consumer…” (emphasis

  added) (internal quotations and citations omitted)).

          34.     In light of the preceding, Defendant has violated the FDCPA, to wit:

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             (a)   Section 1692e(2)(A) by falsely representing the character, amount, and/or

                   legal status of the Consumer Debt. In the First Collection Letter, the least

                   sophisticated consumer is advised that “every dollar [he or she] pay[s] goes

                   towards paying off [his or her] balance;” However, this is false because,

                   inter alia, the “balance” does not properly portray the consumer debt in light

                   of the amount charged off by the current creditor, as well as the fact that a

                   portion of the funds paid will go to satisfy Defendant’s collection costs

                   and/or fees Defendant assesses to the current creditor.

             (b)   Section 1692g(a)(1) by failing to send Plaintiff a written notice that, in light

                   of the least sophisticated consumer standard, sufficiently advises of the

                   amount of the Consumer Debt. The First Collection Letter provides three

                   separate amounts without any correlation, to wit, a “Balance,” a “Charge-

                   off Amount,” and “Non-interest Charges/Fees;” however, the sum of the

                   “Balance” and “Non-interest Charges/Fees” ($283.84 and $184.80,

                   respectively) equal the alleged “Charge-off Amount” ($468.74). Thus,

                   without clarification, the least sophisticated consumer unable to determine

                   what is truly owed, if anything.

             (c)   Section 1692g(a)(2) by failing to send Plaintiff a written notice that, in light

                   of the least sophisticated consumer standard, sufficiently advises of name

                   of the creditor to whom the Consumer Debt is owed, in that, the First

                   Collection Letter fails to identify any entity as being the “creditor.” In

                   particular, the Collection Letter identifies an entity as the “original

                   creditor;” However, the “original creditor” is said to have “charged-off” the



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                    debt in question. Such would case the least sophisticated consumer to

                    believe that the “original creditor” is different from the current creditor. No

                    entity is referenced as the “current creditor” in the First Collection Letter.

                    Pardo v. Allied Interstate, L.L.C., 2015 WL 5607646 (S.D. Ind. Sept. 21,

                    2015) (where collection letter’s body referred to “Resurgent Capital

                    Services LP” as Allied Interstate’s “Client,” and offered no explanation of

                    the relationship between LVNV and Resurgent Capital or why/how

                    Resurgent Capital was involved with debt, consumer stated valid §

                    1692g(a)(2) claim); Shoup v. McCurdy & Candler, L.L.C., 465 Fed. Appx.

                    882, 883–84 (11th Cir. 2012) (listing MERS as the creditor violated

                    FDCPA); Amina v. WMC Mortgage Corp., 2011 WL 1869835 (D. Haw.

                    May 16, 2011) (genuine issue of material fact as to whether collector

                    properly identified current creditor, especially given multiple entities that

                    use name “Chase”); Eun Joo Lee v. Forster & Garbus LLP, 926 F. Supp. 2d

                    482, 487 (E.D.N.Y. 2013) (finding that the plaintiff had stated a plausible

                    claim for the violation of Section 1692g(a)(2) because although the letter

                    mentioned NCOP twice, it did “not clearly and effectively convey its role

                    in connection with the debt.”); Janetos v. Fulton Friedman & Gullace, LLP,

                    825 F.3d 317, 321 (7th Cir. 2016) (the Seventh Circuit found that the

                    defendant's letter had failed to comply with the plain language of Section

                    1692g(a)(2) because “[n]owhere did the letter [s] say that Asset Acceptance

                    currently owned the debts in question.”).




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              (d)   Section 1692e(10) by utilizing false representations and/or deceptive means

                    in an attempt to collect the Consumer Debt and/or obtain information

                    concerning Plaintiff. In the Second Collection Letter, Defendant falsely

                    represents that the settlement offer was one in which Defendant

                    autonomously made to Plaintiff. Such an offer, however, does not originate

                    with Defendant. Rather, the alleged discount proffered by the Collection

                    Letter is merely an amount which Defendant has the authority offer Plaintiff

                    in lieu of the full amount of the Consumer Debt. Such falsehood lends the

                    least supplicated consumer to believe either Defendant possess far more

                    authority than what Defendant truly has or that Defendant otherwise owns

                    the Consumer Debt. Accordingly, such false representations of authority

                    otherwise wrongfully coerce payment of the Consumer Debt by, inter alia,

                    having the reader believe Defendant is capable of utilizing collection

                    measures beyond its authority, to wit, deciding the file a lawsuit to collect

                    the Consumer Debt if Plaintiff does not pay. See Melillo v. Shendell &

                    Assocs., P.A., 2012 WL 253205, at *6 (S.D. Fla.) (“[a] debt collection letter

                    is deceptive where it can be reasonably read to have two or more different

                    meanings, one of which is inaccurate." (quoting Gonzales v. Arrow Fin.

                    Servs., LLC, 660 F.3d 1055, 1062 (9th Cir. 2011)) (intentional quotation

                    marks omitted)); See, e.g., Fuller v. Becker & Poliakoff, P.A., 192 F. Supp.

                    2d 1361, 1369 (M.D. Fla. 2002) (a collection letter which stated that “the

                    consumer would incur ‘substantial amounts of attorney fees and costs’” if a

                    law suit was filed “is a false representation and misleading to the least



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                       sophisticated consumer” because such an outcome is not certain to occur);

                       See also Gonzales, 660 F.3d 1055 at 1063 (“[c]onditional language,

                       particularly in the absence of any language clarifying or explaining the

                       conditions, does not insulate a debt collector from liability.”).

                (e)    Section 1692e(10) by utilizing false representations and/or deceptive means

                       in an attempt to collect the Consumer Debt and/or obtain information

                       concerning Plaintiff. Defendant, by and through the Second Collection

                       Letter, wrongfully causes the least sophisticated consumer to believe that

                       the only way end Defendant’s collection attempts is to pay the alleged

                       settlement amount. This is false. See 15 U.S.C. 1692c(c) (“If a consumer

                       notifies a debt collector in writing that the consumer refuses to pay a debt

                       or that the consumer wishes the debt collector to cease further

                       communication with the consumer, the debt collector shall not

                       communicate further with the consumer with respect to such debt…”).

                (f)    Section 1692f(1) by attempting to collect the Consumer Debt, by and

                       through the Collection Letter, despite having no lawful authority to seek the

                       collection of such, in that, by failing to comply with the notice requirements

                       of § 1692g(a)(1) & (2) of the FDCPA, Defendant was dispossessed of any

                       legal authority it may have had to collect the Consumer Debt, as such

                       disclosures are mandatory to otherwise maintain lawful collection authority

                       of the consumer debt(s) in question.

         35.    As a result of Defendant’s aforementioned FDCPA violations, Plaintiff has suffered

  actual damages, including but not limited to mental suffering, anguish, loss of income, and



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  personal and/or financial credibility, whereby Plaintiff in entitled to relief for such, in addition to

  statutory damages, attorney’s fee and court costs.

                                           COUNT II.
                                    VIOLATION OF THE FCCPA

          36.     Plaintiff incorporates by reference paragraphs 19-29 of this Complaint as though

  fully stated herein.

          37.     In light of the preceding, Defendant violated the FCCPA, to wit:

                  (a)    Fla. Stat. § 559.72(9) by attempting to collect a debt and/or assert a legal

                         right it knew to be illegitimate and/or otherwise unlawful, in that, Defendant

                         continued to attempt to collect the Consumer Debt from Plaintiff despite

                         knowing that it did not provide Plaintiff with the disclosures required by 15

                         U.S.C. § 1692g(a)(1) &(2). Accordingly, because such disclosures are

                         required for Defendant to retain/maintain lawful collection authority of

                         applicable debt, Defendant knowingly sought the unlawful collection of the

                         Consumer Debt from Plaintiff.

          38.     As a result of Defendant’s aforementioned FCCPA violation, Plaintiff has suffered

  actual damages, including but not limited to mental suffering, anguish, loss of income, and

  personal and/or financial credibility, whereby Plaintiff in entitled to relief for such, in addition to

  statutory damages, attorney’s fee and costs.

                                    DEMAND FOR JURY TRIAL

          39.     Plaintiff respectfully demands a trial by jury on all issues so triable.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment against

  Defendant, awarding Plaintiff the following relief:

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        (a)   Statutory and actual damages, as provided under 15 U.S.C. §1692k, for the FDCPA
              violations committed by Defendant in attempting to collect the Consumer Debt.

        (b)   Statutory and actual damages, as provided under Fla. Stat. § 559.77(2), for the
              FCCPA violation committed by Defendant in attempting to collect the Consumer
              Debt from Plaintiff.

        (c)   An injunction prohibiting Defendant from engaging in further collection activities
              directed at Plaintiff that are in violation of the FCCPA;

        (d)   Costs and reasonable attorneys’ fees as provided by both 15 U.S.C. §1692k and
              Fla. Stat. § 559.77(2); and

        (e)   Any other relief that this Court deems appropriate and just under the circumstances.

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        DATED: September 30, 2016

                                          Respectfully Submitted,

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